           Case 2:19-cv-00624-RFB-VCF Document 32 Filed 10/02/20 Page 1 of 1




1

2

3                                       UNITED STATES DISTRICT COURT

4                                           DISTRICT OF NEVADA

5                                                     ***

6
      HAYRI OLIVAS-ARENAS, individually,
7
                           Plaintiff,
8                                                2:19-cv-00624-RFB-VCF
      vs.                                        MINUTE ORDER
9     HOBBY LOBBY STORES, INC. d/b/a HOBBY
      LOBBY #679 d/b/a HOBBY LOBBY; 2100
10
      NORTH RAINBOW BOULEVARD
11
      HOLDINGS, LLC; DOES 1 through 100 and
      ROE CORPORATIONS 1 through 100, inclusive,
12
                           Defendant.
13

14
            Before the court is the Motion for Protective Order (ECF No. 29).
15
            Accordingly,
16
            IT IS HEREBY ORDERED that a hearing on the Motion for Protective Order (ECF No. 29) is
17
     scheduled for 2:30 PM, October 20, 2020, in Courtroom 3D.
18
            DATED this 2nd day of October, 2020.
19                                                             _________________________
                                                               CAM FERENBACH
20                                                             UNITED STATES MAGISTRATE JUDGE

21

22

23

24

25
